         Case 7:20-cv-01192-RDP-JHE Document 8 Filed 10/19/20 Page 1 of 1                                               FILED
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                                                                                                               U.S. DISTRICT COURT
                                                                                                                   N.D. OF ALABAMA


                             UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                  WESTERN DIVISION

 BETTY ALEXANDER,                   )
                                    )
     Petitioner,                    )
                                    )
 v.                                 )                           Case No.: 7:20-cv-01192-RDP-JHE
                                    )
 FEDERAL BUREAU OF PRISONS, et al., )
                                    )
     Respondents.                   )

                                       MEMORANDUM OPINION

        On September 25, 2020, the Magistrate Judge entered a Report and Recommendation,

(Doc. 6), recommending that the petition for writ of habeas corpus be dismissed with prejudice.

No objections have been filed. The court has considered the entire file in this action, together with

the Report and Recommendation, and has reached an independent conclusion that the Report and

Recommendation is due to be adopted and approved.1

        Accordingly, the court hereby ADOPTS and APPROVES the findings and

recommendation of the Magistrate Judge as the findings and conclusions of this court. The petition

for writ of habeas corpus is due to be dismissed. A separate Order will be entered.

        DONE and ORDERED this October 19, 2020.



                                                     _________________________________
                                                     R. DAVID PROCTOR
                                                     UNITED STATES DISTRICT JUDGE




          1
            On October 13, 2020, the copy of the Report and Recommendation mailed to Petitioner was returned to the
court with the notation “Refused – No Longer Here.” (See Doc. 7). It is Petitioner’s responsibility to keep the court
apprised of her mailing address. To the extent that Petitioner is no longer in custody, it appears her petition is
independently due to be dismissed either as moot (due to her release from custody) or for want of prosecution (due to
her failure to supply the court with a current, accurate address).
